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                      IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

EQUAL EMPLOYMENT                             )
OPPORTUNITY COMMISSION, et. al.              )      CASE NO. 1:20-CV-00973
                                             )      Hon. Paul L. Maloney
       Plaintiffs,                           )      Hon. Magistrate Judge Sally J. Berens
                                             )
v.                                           )
                                             )
KONOS, INC. (D/B/A VANDE BUNTE               )
EGGS, et. al.                                )
                                             )
               Defendants.                   )
 Kenneth L. Bird                                    Todd R. Knecht (P35362)
 Omar Weaver (P58861)                               Knecht Law, PLC
 Nedra Campbell (P58768)                            Counsel for Defendants
 Equal Employment Opportunity                       P.O. Box 68292
 Commission                                         Grand Rapids, MI 49516-8292
 477 Michigan Ave., Rm. 865                         (616) 202-5539
 Detroit, MI 48226                                  trknechtlaw@gmail.com
 (313) 226-3410
 nedra.campbell@eeoc.gov                            Todd R. Dickinson
                                                    FISHER & DICKINSON P.C.
 Diana E. Marin (P81514)                            Counsel for Defendants
 Gonzalo Peralta (P84529)                           678 Front Avenue NW, Suite 360
 Anna Hill (P78632)                                 Grand Rapids, MI 49504
 Susan Reed (P66950)                               (616) 575-5615
 Michigan Immigrant Rights Center                  trd@fisher-dickinson.com
 15 S. Washington Street, Suite 201 Ypsilanti,
 Michigan 48197
 (734) 239-6863
 dmarin@michiganimmigrant.org
 ahill@michiganimmigrant.org
 susanree@michiganimmigrant.org
 Attorneys for Plaintiff-Intervenor



                                   CONSENT DECREE

       The     United     States    Equal        Employment     Opportunity       Commission

(“Commission” or “EEOC”) filed this action against Konos, Inc. (“Konos”), to
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enforce Title VII of the 1964 Civil Rights Act, 42 U.S.C. § 2000e (“Title VII”). In

its Complaint (“EEOC Complaint”), the Commission alleged that Konos violated

Title VII by subjecting Jane Doe to a sexually hostile work environment and

retaliating against her for her complaints. After the Commission’s Complaint was

filed, Doe exercised her right to intervene in the Commission’s action and filed

Intervening Plaintiff’s Original Complaint (“Doe Complaint”) under Title VII and

Michigan’s Elliott-Larsen Civil Rights Act, MCL 37.2101 et seq. (“ELCRA”),

against Konos, Inc., and individual Defendants Timothy Vande Bunte and Adam

Dickerson (collectively “Defendants”).

      The Commission, Doe, and Konos have agreed that this action should be

resolved by way of this Consent Decree. It is therefore the finding of this Court,

made on the pleadings and the record as a whole, that: 1) the Court has jurisdiction

over the Commission, Doe, and Konos and the subject matter of this action; and 2)

this Consent Decree fully and finally resolves all matters in controversy or claims

and issues arising out of the EEOC Complaint and Doe Complaint filed in this case.

      Therefore, it is hereby ORDERED, ADJUDGED, AND DECREED:

                            NON-DISCRIMINATION

      1.     Konos, its officers, agents, employees, attorneys, and all persons in

active concert or participation with it shall not (i) subject or expose female

employees to sexual harassment; (ii) create or maintain a sexually hostile work


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environment; or (iii) fail to take prompt, remedial action to address complaints of

sexual harassment.

                                NON-RETALIATION

       2.     Konos, its officers, agents, employees, attorneys, and all persons in

active concert or participation with them shall not retaliate against nor aid any agents

or contractors in retaliating against any employee because s/he: (i) opposes the

discriminatory practices described in paragraph 1, made unlawful by Title VII; (ii)

files a charge of discrimination or assists or participates in the filing of such a charge;

or (iii) assists or participates in an investigation or proceeding brought under federal

laws prohibiting discrimination or retaliation. In addition, Konos shall not send an

employee home in response to a sexual harassment complaint.

                   MONETARY RELIEF AND REFERENCE

       3.     Within seven (7) business days after this Decree has been entered by

the Court, Konos shall pay a total amount of $175,000 in monetary relief to Jane

Doe. Of this monetary payment, $165,000 shall be considered compensatory and

punitive damages, and $10,000 shall be considered attorneys’ fees and costs and sent

in a separate check made payable to the Michigan Immigrant Rights Center. Konos

shall issue a 1099-MISC in the ordinary course of business for these amounts.

Furthermore, Konos shall not withhold any amounts from payment of compensatory

or punitive damages, or attorneys’ fees and costs.


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      4.    Doe will receive a written signed job reference which indicates the

dates of her employment and that she was a good employee. In addition, if Konos is

contacted by a prospective employer, Konos will verify her employment with

Konos, consisting only of the dates of employment and position held.

      5.    Within seven (7) business days after payment has been made, Konos

shall mail copies of the checks to Kenneth Bird, Regional Attorney, care of Nedra

Campbell, Trial Attorney, EEOC, 477 Michigan Avenue, Room 865, Detroit,

Michigan 48226, and also send it via email to monitoring-eeoc-indo@eeoc.gov.

                              NOTICE POSTING

      6.    Konos shall cause to be posted for the duration of this Decree in a

conspicuous place at each plant where employee notices are posted, the Notice

attached as Exhibit A, in the same type, style, and size and in both English and in

Spanish. In the event the posting becomes marred, or defaced, Konos shall cause to

be re-posted a clean and readable copy. In addition to causing this Notice to be

posted, Konos shall cause a copy of Exhibit A to be distributed to all employees

within thirty (30) days of the entry of this Consent Decree and provided to new

employees within thirty (30) days of being hired.

                                   TRAINING

      7.    Within sixty (60) days of the date this Decree is entered by the Court,

Konos shall cause all of its employees (including managers, supervisors, officers,


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and directors) to be trained on sexual harassment and retaliation. Thirty (30) days

before Konos conducts training, it shall obtain prior approval for the training. The

training shall be offered in both English and Spanish and shall last at least sixty (60)

minutes. Konos shall keep a registry of all attendees who take the training pursuant

to this Decree. Konos shall retain the registry for the duration of this Decree and

forward a copy of the list of all attendees to Kenneth Bird, Regional Attorney, care

of Nedra Campbell, Trial Attorney, to EEOC, 477 Michigan Avenue, Room 865,

Detroit, Michigan 48226 and also send it via email to monitoring-eeoc-

indo@eeoc.gov.

                                    REPORTING

      8.     Konos shall submit the following in writing and in affidavit form to the

Commission’s Regional Attorney at the email address provided above:

             A.     Within ten (10) days of conducting the required training, the

      registry of persons attending the training required above, and a list of the

      current employees; and

             B.     Within ten (10) days of posting the required notice, Konos, Inc.

      shall provide confirmation that (i) the Notice referenced above was posted,

      and the location(s) where it was posted; and (ii) the Notice referenced above

      was distributed to each current employee via regular mail.




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             C.     Within ten (10) days of receiving a complaint which could be

      construed as a complaint that an employee has engaged in sexually

      inappropriate conduct (e.g., the type of conduct defined in Konos’ current

      employee handbook defining sexual harassment), Konos shall provide the

      following: 1) the name and contact information for the employee who made

      the complaint; 2) the name and contact information for the person who the

      complaint was about; 3) the steps Konos took to investigate the complaint;

      and 4) the results of the investigation.

                                    DURATION

      9.     Absent extension, this Decree shall expire by its own terms at the end

of three (3) years from the date of its entry without further action by the parties.

                  DISPUTE RESOLUTION AND COMPLIANCE

      10.    The Commission shall have the right during regular business hours

defined as Monday through Sunday, 7:00 am to 9:00 pm, EST, to enter and inspect

Defendant’s premises to ensure compliance with this Decree.

      11.    The Court shall retain jurisdiction and will have all available equitable

powers to enforce this Consent Decree. Upon motion of the Commission, the Court

may schedule a hearing for the purpose of considering allegations of non-compliance

with this Consent Decree. The parties shall engage in a good-faith effort to resolve

any dispute as to compliance prior to seeking review by the Court.


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      12.      The Commission may review compliance with this Decree. As part of

such review, the Commission may interview Defendant’s employees, and examine

and copy Defendant’s documents which are pertinent to the Commission’s

allegations of non-compliance.

      13.      In the event the Court finds that Defendant has not complied with any

provision of this Decree, and the Commission petitions the Court to order Defendant

to comply, the Commission is entitled to a penalty of $750 per day until Defendant

is in compliance with the Decree again. The Court may enter an Order requiring the

payment of this daily $750 penalty, in addition to all attorney’s fees and costs

incurred by the Commission to enforce the Decree.

                                 MISCELLANEOUS

      14.      Each party will bear its own costs and fees except as provided in

paragraph 3.

      15.      If any provision of this Decree is found to be unenforceable by a court,

only the specific provision in question shall be affected and the other enforceable

provisions shall remain in full force.

      16.      In the event the Court finds that Defendant has not complied with any

provision of this Decree, and the Commission petitions the Court to order Defendant

to comply, the Commission is entitled to a penalty of $750 per day until Defendant

is in compliance with the Decree again. The Court may enter an Order requiring the


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payment of this daily $750 penalty, in addition to all attorney’s fees and costs

incurred by the Commission to enforce the Decree.

      17.   Any modifications to this Decree must be entered by the Court.

      18.   The terms of this Decree are and shall be binding upon Konos, Inc., its

officers, successors, assigns, directors, employees, creditors, agents, trustees,

administrators, and representatives. If Konos transfers all or part of the company

during the duration of this Consent Decree, Konos shall provide a copy of the

Consent Decree to the tranferee.

                                            IT IS SO ORDERED:

 Date: May 27, 2022                          /s/ Paul L. Maloney
                                            Hon. Paul L. Maloney
                                            United States District Judge




EQUAL EMPLOYMENT                             KONOS, INC.
EMPLOYMENT COMMISSION


 s/ Nedra Campbell_____________              __s/ Todd R. Knecht_ ________
 Nedra Campbell (P58768)                      Todd R. Knecht (35362)
 Equal Employment Opportunity                 Knecht Law, PLC
 Commission                                   Counsel for Defendants
 477 Michigan Ave., Rm. 865                   P.O. Box 68292
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 nedra.campbell@eeoc.gov                       trknechtlaw@gmail.com


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 INTERVENING—PLAINTIFF                    _s/ Todd R. Dickinson_ ________
 JANE DOE                                 Todd R. Dickinson
                                          FISHER & DICKINSON P.C.
 s/ Diana E. Marin_____________           Counsel for Defendants
 Diana E. Marin (P81514)                  678 Front Avenue NW, Suite 360
 Michigan Immigrant Rights                Grand Rapids, MI 49504
 Center                                   (616) 575-5615
 15 S. Washington Street, Suite           trd@fisher-dickinson.com
 201 Ypsilanti, Michigan 48197
 (734) 239-6863
 dmarin@michiganimmigrant.org




Date: May 18, 2022




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 ADJUNTO A

                                   AVISO


        El siguiente aviso se publicó de conformidad con los términos de
 un Decreto de Consentimiento alcanzado entre las partes en la EEOC
 et. al. v. Konos, Inc. et. al, presentada en el Tribunal de Distrito de los
 Estados Unidos Distrito Oeste de Michigan, Acción Civil No. 1:20-CV-
 00973.


       Konos, Inc. desea hacer hincapié en las políticas fundamentales de
 la compañía de proporcionar igualdad de oportunidades laborales en
 todas sus operaciones y prácticas de empleo, y quiere asegurarse de que
 no habrá discriminación contra ningún empleado o solicitante de empleo
 por motivos de sexo, raza, color, religión, embarazo, origen nacional,
 edad o discapacidad. Esta política se extiende a los individuos al
 asegurarse que no sean objeto de discriminación sexual, un ambiente de
 trabajo sexualmente hostil, o represalia por oponerse a tal
 discriminación.

       De conformidad con el Título VII, es ilegal que un empleador
 discrimine contra un empleado por motivo de sexo de un empleado,
 incluyendo la exposición de un empleado a un ambiente de trabajo
 sexualmente hostil (Puede consultar el manual del empleado para
 obtener una descripción del acoso sexual). Además, es ilegal que un
 empleador tome represalias contra un empleado porque él o ella se ha
 opuesto a las prácticas de empleo discriminatorias, incluyendo lucha
 contra la discriminación sexual o un ambiente de trabajo sexualmente
 hostil, o porque él o ella ha presentado una querella por discriminación
 ante cualquier estado municipal, o la agencia federal de igualdad de
 oportunidades de empleo, o porque él o ella ha participado en una
 investigación de una querella por discriminación.


       Cualquier empleado que crea que él o ella ha sufrido la
 discriminación por razón de sexo, raza, color, religión, embarazo, origen
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 nacional, edad o discapacidad puede contactar a un miembro de nuestro
 equipo de gestión de conformidad con las políticas de empleo prevista.
 Usted también tiene derecho a comunicarse con la EEOC directamente
 al 1 -800-669-4000. En cumplimiento con la ley federal, Konos no
 tomará represalias contra cualquier empleado que hace una denuncia
 interna de la discriminación o que en contacto con la EEOC o su
 contraparte estatal, el Departamento de Derechos Civiles de Michigan.

 Konos, Inc.

 Por :_________________________       Fecha:____________________
 Este aviso permanecerá publicado por el término de tres (3) años, hasta
 juno de 1 de 2025.




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 Attachment A
             NOTICE TO ALL EMPLOYEES
       The following notice was published pursuant to the terms of a
 Consent Decree reached between the parties in EEOC et. al. v. Konos,
 Inc. et. al., filed in the United States District Court Western District of
 Michigan, Civil Action No. 1:20-CV-00973.
       Konos, Inc. wishes to emphasize the company's fundamental
 policies of providing equal employment opportunity in all of its
 operations and employment practices, and wants to ensure that no
 employee or applicant for employment will be discriminated against on
 the basis of sex, race, color, religion, pregnancy, national origin, age, or
 disability. This policy extends to individuals by ensuring that they are
 not subjected to sex discrimination, a sexually hostile work
 environment, or retaliation for opposing such discrimination
       Pursuant to Title VII, it is illegal for an employer to discriminate
 against an employee on the basis of an employee's sex, including
 exposing an employee to a sexually hostile work environment (You may
 refer to the employee handbook for a description of sexual harassment.)
 In addition, it is illegal for an employer to retaliate against an employee
 because he or she has opposed discriminatory employment practices,
 including anti-sex discrimination or a sexually hostile work
 environment, or because he or she has filed a complaint alleging
 discrimination before any municipal, state, or federal equal employment
 opportunity agency, or because he or she has participated in an
 investigation of a charge of discrimination.
       Any employee who believes that he or she has experienced
 discrimination on the basis of sex, race, color, religion, pregnancy,
 national origin, age or disability may contact a member of our
 management team in accordance with the employment policies
 provided. You also have the right to contact the EEOC directly at 1-800
 -669-4000. In compliance with federal law, Konos will not retaliate
 against any employee who makes an internal complaint of
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 discrimination or who contacts the EEOC or its state counterpart, the
 Michigan Department of Civil Rights.


       KONOS, Inc.


       By: ___________________________              Date:____________________
 This notice will remain published for a term of three (3) years, until June 1, 2025.




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